Case: 23-40639           Document: 40-1         Page: 1      Date Filed: 08/23/2024




          United States Court of Appeals
               for the Fifth Circuit                                        United States Court of Appeals
                                  ____________                                       Fifth Circuit

                                                                                    FILED
                                   No. 23-40639                              August 23, 2024
                                 Summary Calendar
                                                                                  Lyle W. Cayce
                                 ____________                                          Clerk

Earl Francis Hart,

                                                                Petitioner—Appellant,

                                         versus

Charles Daniels, Warden, USP Beaumont,

                                            Respondent—Appellee.
                  ______________________________

                  Appeal from the United States District Court
                       for the Eastern District of Texas
                            USDC No. 1:23-CV-165
                  ______________________________

Before Wiener, Ho, and Ramirez, Circuit Judges.
Per Curiam:*
      Earl Francis Hart, federal prisoner # 27106-038, appeals the dismissal
of a 28 U.S.C. § 2241 petition challenging his convictions and sentences for
conspiracy to possess with intent to distribute Oxycodone, attempted
possession with intent to distribute Oxycodone, possession of a firearm and
ammunition by a felon, and using and brandishing a firearm in furtherance of

      _____________________
      *
          This opinion is not designated for publication. See 5th Cir. R. 47.5.
Case: 23-40639        Document: 40-1       Page: 2    Date Filed: 08/23/2024




                                 No. 23-40639


a drug trafficking crime. We review the district court’s factual findings for
clear error and its legal conclusions de novo. Jeffrey v. Chandler, 253 F.3d
827, 830 (5th Cir. 2001).
       To collaterally challenge his convictions under § 2241, Hart must
satisfy the “‘saving clause’” of 28 U.S.C. § 2255(e) by showing that
“unusual circumstances make it impossible or impracticable to seek relief in
the sentencing court.” Jones v. Hendrix, 599 U.S. 465, 478 (2023). He has
abandoned any argument that he has satisfied the savings clause by failing to
brief it before this court. See Yohey v. Collins, 985 F.2d 222, 224-25 (5th Cir.
1993). To the extent Hart contends that actual innocence is an exception to
the savings clause, he has not established that actual innocence provides a
gateway for review of claims raised in a § 2241 petition. See McQuiggin v.
Perkins, 569 U.S. 383, 386 (2013); Schlup v. Delo, 513 U.S. 298, 315 (1995).
       The judgment of the district court is AFFIRMED. Hart’s motion
for the appointment of counsel is DENIED.




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